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EXHIBIT A
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                           LTNITED STATES DISTzuCT COURT
                    FOR THE DISTRICT OF UTAH, NORTHERN DIVISION




 JOSHUA CHATWIN,
           Plaintiff,

               VS                                              No.2:14-cv-375

 DRAPER CITY, et al.,                                          Report of Kenneth R. Wallentine
           Defendants                                          in response to Kirk M. Torgensen
                                                               report




        The following report of Kenneth R. Wallentine is submitted after review of the following

 documents, pleadings, records, and reports:

        Draper City Police Department report and DUI report

        Draper City Police policies relating to use of force

        Joshua Chatwin deposition transcript

        Joshua Patterson deposition transcript

        Mehdi Mahmoudi deposition transcript

        David Harris deposition transcript

        John Eining deposition transcript

        Heather Baugh deposition transcript

        Kathy Torrence deposition transcript

        Steven Merrin deposition transcript

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         Jason Scott deposition transcript

         Miscellaneous photographs relating to incident

         Kirk Torgensen report

         Trevor Petersen report




         This report of Kenneth R. Wallentine is submitted in response to the report of Kirk

 Torgensen.

         Kenneth R. Wallentine states as follows:

 I   .   The Draper Police Department policy goveming use of force that was in effect in 2010

 contained a restatement of the law goveming use of force, accompanied by some additional

 discussion. This policy is similar to many policies that were commonly in use throughout the

 State of Utah at the time. ln fact, prior to adopting a policy that is nearly word-for-word identical

 to the 2013 Draper Police Department Policy 300, the lnvestigation Division of the Office of the

 Attorney General had in effect a use of force policy that offered little guidance beyond restating

 the laws of Utah and some factors suggested by federal courts'

         The 2010 Draper Police Department policy, and the many that were markedly similar to

 that policy, should be read in tandem with the training provided to all certified Utah peace

 officers. As a Bureau Chief at Utah Peace Officer Standards and Training Division, I was

 responsible for the learning objectives, curriculum and certification examinations for courses

 mandated to all police academy trainees. Several courses featured discussion of use of force

 issues addressed broadly in the 2010 Draper Police Department policy. Those courses included

 Laws of Reasonable Force, Laws of Arrest, Liability of Peace Officers, Defense Techniques,


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 parts one and two. Police trainees were also required to successfully complete scenario exercises

 and demonstrate appropriate use of force in compliance with state and federal constitutional

 parameters and statutes. A trainee could not be certified as a law enforcement officer in the state

 of Utah'ù/ithout passing a comprehensive written test that particularly tested knowledge of the

 laws addressing use of force.

         Though the Draper Police Department 2010 use of force policy was later amended to its

 current form-similar to the overwhelming majority of Utah agencies-the policy provided

 sufficient guidance for an officer to know the agency's policy on the proper and constitutionally-

 permissible use of force by a police off,rcer. Draper Police Department officers who were

 certified as law enforcement officers by the Utah Peace Officer Standards and Training Division

 were trained to the standards then generally accepted on the proper and constitutionally-

 permissible use of force and had successfully passed examinations essential to certification and

 hiring as a police officer.

         Many police executives recognized a need for more clearly-expressed and detailed policy

 statements to guide police offîcers and to shape police procedures and training. In the few years

 preceding the adoption of the 2013 Draper Police Department policy 300, a committee formed

 under the direction of the Utah Chiefs of Police Association studied then-existing policies,

 possible inadequate explanations of policy, and policy-drafting options. That committee's work

 lead directly to widespread policy changes at many agencies, including Mr. Torgensen's former

 agency and the Draper Police Department.

         The Draper Police Department adequately trained its off,icers to arrest persons, including

 intoxicated persons. Police officers receive training on arrest control techniques during the Utah


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 Police Academy training that includes training to arrest impaired persons. Beyond the Utah

 Police Academy training required for all officers, Draper City also trained its officers on arresting

 persons. Both Officer Patterson and Deputy Chief Eining described some of the methods taught

 to officers for taking impaired persons into custody, The training described by both Officer

 Patterson and Deputy Chief Eining fits training objectives in use at the Utah Police Academy at

 the time of plaintiff s arrest and is sufficient to demonstrate to a person familiar with Utah police

 training programs to know that the Draper Police Department adequately trained its off,icers in

 the subject of arresting persons, including intoxicated persons. Utah law enforcement agencies

 generally recognize that training as sufficient to prepare an officer to arrest an impaired person.

 2.      In reaching my opinions in this matter I have relied upon my training and experience in

 public safety acquired throughout my career. A summary of my qualifications, publications,

 litigation history and fee schedule are recited herein.

 3.      My qualifications as an expert in this subject matter include the following: I am a

 law enforcement officer in the State of Utah. I became certif,ied as a law enforcement officer in

 the State of Utah in 1982. Until April 1,20I4,I was employed with the Utah Attorney General,

 where I served as the Chief of Law Enforcement. I am cunently employed as a Special Agent

 with the Utah Attorney General lnvestigation Division, coordinating use of force training and

 force investigation training throughout the state. I also work part-time as a consultant and Senior

 Legal Advisor for Lexipol.

         I was formerly employed as a Bureau Chief at the Utah Department of Public Safety,

 Peace Ofhcer Standards and Training Division, where I supervised investigations into allegations

 of improper and excessive force, offrcer integrity, and criminal acts alleged to have been

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 committed by law enforcement officers and supervised in-service training administration and

 certification for all peace officers in the State of Utah. I also supervised the police service dog

 training and certification program for the State of Utah. I had responsibility for policy drafting

 and review for the parent agency, the Utah Department of Public Safety.

         My duties included direct supervision and command of various investigative units and

 agents throughout the State of Utah, supervising law enforcement officers, forensic specialists,

 and technicians. I commanded the State of Utah Child Abduction Response Team. I

 commanded the State of Utah Officer-lnvolved Fatality lnvestigation Team. I am a member of

 the Board of Review of the Utah Technical Assistance Program, consulting in cold case homicide

 and complex violent person crimes investigations. ln 2010, Governor Herbert selected me for

 the Governor's Leadership in Public Service award for my work in public safety leadership.

         I was formerly responsible for providing delivery of the Basic Training Curriculum

 related to all legal subjects, as well as certain tactical subjects, at the Utah Law Enforcement

 Academy. I continue to teach at the Utah Law Enforcement Academy. I am the author of the

 police academy curriculum currently in use for several subjects, including, but not limited to, use

 of force, reasonable force, use of force and police service dog teams, search and seizure, search

 and seizure for police service dog teams, and use of force/firearms instructor liability.

         I regularly teach in the following specialized courses: Advanced Officer Course, Firearms

 Instructor Course, Utah Sheriffs' Association Command College, First Line Supervisor Course,

 POST K9 Unit Administrator Course, POST Patrol Dog Handler Course, POST Narcotics

 Detector Dog Course, and others. I am a former police service dog handler and worked with the




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 Uintah County Sheriffls K9 Unit from 1995 to 2001. I continue to provide instruction and

 evaluation services for the POST Police Service Dog program.

        I am a certified POST Firearms lnstructor, often serving as the lead instructor for POST

 Firearms courses. I am a certified TASER@ lnstructor. I am a certified Excited Delirium and

 Sudden Death Investigation lnstructor. I was certified by the Los Angeles Police Department in

 Off,rcer-lnvolved Shooting lnvestigation. ln cooperation with the Utah Sheriffs Association and

 the Utah Jail Commanders Association, I teach employee selection, employee discipline, intemal

 affairs and in-custody and officer-involved fatality investigation courses to county law

 enforcement and corrections command staff. I am a certified Force Science Analyst, certified by

 the Force Science Research Center at Minnesota State University. I am a Certified Litigation

 Professional, certified by the Americans for Effective Law Enforcement.

        I am a licensed attorney, having practiced law since 1990. I am admitted to practice

 before the United States Supreme Court, the Courts of Appeals for the Fifth and Tenth Circuits,

 and the State and Federal courts in the State of Utah. I am a Master of the Bench of the

 American Inns of Court, lnn One, where I also serve as immediate past-President of the lnn of

 Court. I have served both as a Hearing Officer and as the advising Administrative Law Judge for

 appeals before the Utah Career Service Review Board. I have also served as an Administrative

 Law Judge appointed in certain counties and cities in Utah, providing hearing officer and

 appellate hearing services for hearings involving allegations of police officer misconduct and

 other police employment matters.

        I serve as Chairman of the Salt Lake County Peace Officer Merit Service Commission,

 appointed by the Salt Lake County Mayor and the Mayors of the various municipalities that


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 comprise the Unified Police Department of Greater Salt Lake County. In that capacity,I chair

 the commission that oversees the hiring, promotion, discipline and termination of all sworn

 officers of the Salt Lake County Sheriffs Office, Salt Lake County Protective Services Ofhce and

 the Unified Police Department.

        I was the longest serving member of the Utah Board of Mandatory Continuing Legal

 Education, an independent committee serving on behalf of the Utah Supreme Court. I was first

 appointed in I 996 and was reappointed by the Chief Justice to serve through 201 5.

        ln addition to my primary employment, I occasionally consult and provide expert

 opinions on police procedures, and use of force issues. I provide law enforcement academy

 curriculum consulting and accreditation review services for the United States Department of

 Justice. I have also served as a contract consultant to the United States Department of Justice,

 assigned to provide technical assistance and management consulting to various public safety

 entities in the United States.

         I am the co-founder of, and legal advisor to, a best practices advisory group charged with

 developing model policies and best practices under the authority of the Utah Chiefs of Police

 Association, the Utah Sheriffs' Association and various state law enforcement agencies' I

 occasionally perform in-custody death investigations and officer-involved shooting death

 investigations for agencies which may lack the requisite expertise. I am the author of a number

 of best practice policies for law enforcement agencies, and have provided policy drafting and

 policy review services for several agencies, including full policy drafting responsibility for one of

 the state's larger law enforcement agencies.




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        I am a former member of the Scientific Working Group on Dog and Orthogonal Factors,

 an international organization facilitated by the Federal Bureau of lnvestigation, the Department

 of Homeland Security, and the Transportation Security Administration, with research and peer

 review coordinated by the lntemational Forensic Research lnstitute at Florida lnternational

 University, established to identif, consensus based best practices for the use of canine detection

 teams. Other professional activities pertinent to law enforcement include serving as a Past-

 President of the Utah Peace Officers Association, former Board Member of the Utah SWAT

 Association, member of the lnternational Association of Law Enforcement Educators and

 Trainers Association, consultant to and member of the California Narcotics and Explosive

 Canine Association, member of the International Association of Chiefs of Police and the Utah

 Chiefs of Police Association, member of the National Tactical Officers Association, member of

 the Intemational Association of Law Enforcement Firearms lnstructors, member of the

 lntemational Association of Directors of Law Enforcement Standards and Training, member of

 the Intemational Law Enforcement Educators and Trainers Association, and member of the

 United States Police Canine Association.

         I serve as co-Chairman of the Utah Law Enforcement Legislative Committee. ln that

 capacity,I have been involved with all major law enforcement legislative initiatives in the State

 of Utah for more than the past decade. I formerly served as a gubematorial appointee to the

 Council on Peace Officer Standards and Training, under Govemor Michael Leavitt, where I

 heard many dozens of contested disciplinary matters and helped direct policy and training for all

 peace officers and corrections officers, I served as a member on the Council on Peace Officer




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 Standards and Training, under appointment of the Attomey General from January 2013 until my retirement.

 4.     My publications (limited to ten years) include the following: I have previously

 published a number of other professional articles, many of which have been subjected to peer

 review. My most recent book, The K9 Officer's Legal Handbook,2nd ed., was published by

 LexisfiJexis Matthew Bender in February 2014, with the 2015 Supplement published in January

 2015. Another book, Street Legal: A Guide to Pre-trial Criminal Procedurefor Police,

 Prosecutors, and Defenders was published in2007 by the American Bar Association Publishing

 Division. It is a treatise on public safety and criminal procedure. My other published works

 include: Supreme Court Decision Casts Doubt on Hotel Registry Ordinances, Police Chiet V.

 81, No. 10 (2015); Body Worn Cameras: Plan Before Your Office Buys In, The Sheriff (June

 2015); Legal Risks of Failing to Care for Children of Arrested Persons, Police Chief, V . 82,

 (September 2015); A Rational Foundationfor Use of Force Policy, Training and Assessment,

  2014 (2) AELE Mo. L. J.   l0l; Post Incident Video Review, Police Chief, V, 68, No. 12 (201l);
 Cett Site Location Evidence: A New Frontier in Cyber-Investigation,20ll (2) AELE Mo. L. J'

  501, Prospects, Pitfalls and Pains of Social Media and Public Safety, The Municipal Lawyer,

 September 2010; Police Department May Read Text Messages Sent on Agency-issued Pagers:

  City of Ontario, California v. Quon, Police Chief, V . 57, No. 8 (2010); Collection of DNA Upon

 Arrest; Expanding Investigative Frontiers, Police Chief, V. 57, No. I (2010); Targeting TASER:

  The New TASER Aim Points, Law Officer, January 2010; The Rislqt Continuum: Abandoning the

  Use of Force Continuum to Enhance Risk Management, The Municipal Lawyer, July 2009;

 Explosive Detector Dog Legal Issues, K9 Cop, February 2009; Does Police Sentice Dog

  Deployment Equal Deadty Force?,K9 Cop, April2009; Human Scent Line-up Evidence, Police


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 K9 Magazine, August 2009; Aclcnowledging Gender in Fitness Standards þr Police: An

 Invitation to Liability?, The Municipal Lawyer, January 2008; K9 Court Testimony, Police K9,

 December 2006; United States Supreme Court Review for Coruections Managers, Corrections

 Managers Report, October 2006.

 5.     My fee schedule is established as follows: I charge $250.00 per hour for examination of

 reports and documents, site visits, interviews, administrative tribunal, deposition or court

 testimony, with a minimum of $1,000.00 for deposition or court testimony. I bill for actual travel

 expenses and a travel fee of $ 1,000.00 per daylpart-day for travel to westem states and $ 1,500.00

 per daylpart-day outside western states.

 6.     My prior experience as an expert witness (limited to the past four years) includes

 the following cases: I have been qualified as an expert in the subject matter of police

 procedures, including use of TASER@ devices, excessive force, shootings and wrongful death

 claims, search and seizure, police service dog use, both in drug detection and dog bites, and I

 have never had a court decline to find that I am a qualified expert witness. I have testified and/or

 provided depositions and trial testimony in the following cases which may be generally related to

 the subject of the instant litigation in the past four years: Gonzqles v. Campbell,No.

 CV-15-00064-PHX-NVW, United States District Court for the District of Arizona,2016.

 Deposition testimony given on behalf of defendant. Subject matter: excessive force. McDonqld

 v. Dupnik,No. C20142895 Superior Court, State of Arizona,Pima County,20l6. Trial and

 deposition testimony given on behalf of defendants. Subject matter: excessive force. Tølley v.

 City of Charlotte,No. No. 3:14 CV 683, United States District Court for the Westem District of

 North Carolina, 2016. Deposition testimony given on behalf of the defendants, Subject matter:

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 negligent custody. McKenney v. Mangino, No. 2:15-CV-73-JDL, United States District Court for

 the District of Maine, 2015. Deposition testimony given on behalf of defendant. Subject matter:

 wrongful death. Moore v. City of Lakeland, No. 8:13-cv-02660-T-26TBM, United States District

 Court for the Middle District of Florida, 201 5. Trial testimony given on behalf of defendant.

 Subject matter: excessive force. Frasier v. McCallum, et ø/., No. l:14-ov-00009-MP-GRJ,

 United States District Court for the Northern District of Florida, 20 1 5. Deposition testimony

 given on behalf of defendant. Subject matter: mistaken arrest. Woffis v. City of Gainesvil/e, No,

 l:14-cv-130, United States District Court for the Northern District of Florida, 2015. Deposition

 testimony given on behalf of defendant. Subject matter: excessive force. Castillo v. City of

 Tempe,No. 2:12-CV-02225-ROS, United States District Court for the District of Arizona, 2015.

 Trial testimony given on behalf of defendants. Subject matter: excessive force. Stoedter v. Salt

 Lake County, et al., No.2:12-CY-255-BJ, United States District Court for the District of Utah,

 2015. Trial and deposition testimony given on behalf of the defendants. Subject matter: police

 force to effect arrest . Williams v. TASER, Internat'l and the City of Charlotte, No. 3: l2-CV-838,

 United States District Court for the Westem District of North Carolina, 2014. Deposition

 testimony given onbehalf of the defendants. Clarkv. Box Elder County et al., No. l:13-cv-

 00079-CV/, United States District Court for the District of Utah, 2014. Deposition testimony

 given on behalf of the defendants. Campbell & Gemperline v. City of Springboro et al.,No.

  l:08-cv-00737, United States District Court for the Southern District of Ohio, 2013. Deposition

 testimony given on behalf of the defendants. Thompson v. City of Lebanon, No. 1:10-CV-0035,

 Urrited States District Court for the Middle District of Tennesse e,2013. Deposition testimony

 given on behalf of the defendants. Chief v. West Valley City Police, et al., No.2:ll-CY-643,


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 United States District Court for the District of Utah, 2013, Deposition testimony given on behalf

 of the defendants. Stoedter v. Salt Lake County, et al.,No.2:12-CY-255-BJ, United States

 District Court for the District of Utah, 201 3 , Deposition testimony given on behalf of the

 defendants. Texiera v. United States of America, et al.,No.2:ll-CY-02022,United States

 District Court for the District of Nevada,20l3. Deposition testimony given on behalf of the

 defendants. Boggs v. City of Waterloo, No. LACV116584-CW, Blackhawk County District

 Court, 2013. Deposition testimony given on behalf of defendants. Schmidtke v. Marion County

 Sheriff et a/. , No. 5 : 10-CV-293-OC- I 0prl, United States District Court for the Middle District of

 Florida, 2012. Deposition testimony given on behalf of the defendants. Alusa v, Salt Lake

 County Sheriff, et al. , No.2: 1 I -CV-00 I 84-CW, United States District Court for the District of

 IJtah,2012. Deposition testimony given on behalf of the defendants. Woodwardv. City of

 Gallatin, et al.,No.3:10-CV-01060, United States District Court for the Middle District of

 Tennessee, 2012. Deposition testimony given on behalf of the defendanhs. Minor v, Johnson, et

 a/., No. l0l6-CV08762,CircuitCourt of Jackson County, Missouri, 2012. Deposition testimony

  given on behalf of defendants. Garciav. Sacramento City, et al.,No.2:10-CV-00826-JAM-

  KJN, United States District Court of Califomia, Eastern Division, 2012. Deposition testimony

  given on behalf of the defendants.

         The observations and opinions stated herein are preliminary, insofar as additional

  information may be provided to me through the course of discovery and other incidents of the

  litigation process. They are based on the best information presently known to me. I have

  assumed the general accuracy of the documents, statements, and reports, excepting those

  expressed as opinions and those conflicting one with another and/or conflicting with physical


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 evidence, that were provided to me. The opinions herein may be supplemented and/or revised

 upon receipt of additional information, including, but not limited to, further deposition

 testimony, consideration of any report submitted by plaintiff s experts, further investigation

 and/or further witness interviews. I may supplement this report upon completion of depositions

 of witnesses in this matter andlor upon being provided with other investigative documents,

 and/or diagrams, video and photographs. I may also supplement this report upon being granted

 leave to inspect the site from the various perspectives of witnesses who claim to have observed

 plaintiff s arrest,

         My trial testimony may be supported by exhibits that include the pleadings, documents,

 statements, depositions, diagrams, photographs, and reports listed herein, as well as illustrative

 evidence such as a visual presentation of computer-generated slides and visual images projected

 onto a screen, charts, graphs, or illustrations created to better illustrate the aforementioned

 documents.




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 Kenneth R. Wallentine
 March 30,2016

 Kenneth R. Wallentine
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